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 1   MICHAEL ZORKIN (Bar No. CA 313308)
     THE ZORKIN FIRM
 2   Email: mz@thezorkinfirm.com
     6320 Canoga Ave., 15th Floor
 3   Woodland Hills, California 91367
     Telephone: 323.493.8075
 4
     Attorney for Defendant
 5   Blue Cross and Blue Shield of Kansas City
 6

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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11   O.C. Multispecialty Surgery Center,         No. 2:21-cv-5062
12                  Plaintiff,                   NOTICE OF REMOVAL TO
                                                 UNITED STATES DISTRICT
13         v.                                    COURT
14   Blue Cross and Blue Shield of Kansas        Filed concurrently with:
     City and DOES 1-10,
15                                               1. Notice to Adverse Parties;
                    Defendant.                   2. Notice of Interested Parties;
16                                               3. Civil Case Cover Sheet;
17                                               4. Declaration of Daniel C. Frazier;
                                                 5. Proof of Service.
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19                                               Removal Filed: June 22, 2021
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                                     NOTICE OF REMOVAL
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 1
                                  NOTICE OF REMOVAL
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           Defendant Blue Cross and Blue Shield of Kansas City removes this action
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     to the United States District Court for the Central District of California based on
 4
     federal question and diversity jurisdiction.
 5
                               THIS REMOVAL IS TIMELY
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           1.      On April 14, 2021, Plaintiff O.C. Multispecialty Surgery Center
 7
     sued Blue KC in the California Superior Court for the County of Los Angeles,
 8
     Case No. 21STCV14160. See Complaint.
 9
           2.      On May 24, 2021, Plaintiff served the Complaint on Blue KC. Id.
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           3.      Less than 30 days later, on June 22, 2021, Blue KC filed this
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     notice of removal.
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           4.      This notice of removal is timely since it was “filed within 30 days
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     after receipt by the defendant[s], through service or otherwise, of a . . . paper
14
     from which it may first be ascertained that the case is one in which is or has
15
     become removable[.]” 28 U.S.C. § 1446.
16
                                 NATURE OF THE ACTION
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           5.      Plaintiff alleges that it is a medical provider that performed a
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     surgery on a member of Blue KC’s health plan. Plaintiff is an out-of-network
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     provider that has no contractual relationship with Blue KC. Yet, Plaintiff seeks
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     higher payment for the surgery than what Blue KC already paid under the terms
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     of the member’s health plan. See generally, Compl.
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           6.      Plaintiff specifically alleges that Blue KC must pay Plaintiff its full
23
     billed charges. Id.
24
                           FEDERAL QUESTION JURISDICTION
25
     A.    ERISA Governs Health Plan at Issue in the Complaint
26
           7.      Removal is proper under 28 U.S.C. § 1441 because federal
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     question jurisdiction exists under 28 U.S.C. § 1331.
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                                        NOTICE OF REMOVAL
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 1          8.      The Blue KC member at issue was enrolled in an “employee
 2   benefit plan” established by the employer to provide health benefits to its
 3   employees. See Declaration of Daniel C. Frazier ¶ 3.
 4          9.      ERISA governs “any employee benefit plan . . . established or
 5   maintained . . . by any employer engaged in commerce or in any industry or
 6   activity affecting commerce[.]” 29 U.S.C. § 1003(a)(1). An “employee benefit
 7   plan” is any “plan, fund, or program . . . established or maintained by an employer
 8   or by an employee organization . . . for the purpose of providing for its
 9   participants or their beneficiaries, through the purchase of insurance or otherwise,
10   . . . medical, surgical, or hospital care or benefits, or benefits in the event of
11   sickness[.]” Id. § 1002(1).
12   B.     ERISA Completely Preempts Plaintiffs’ Causes of Action
13          10.     ERISA preempts all of Plaintiffs’ state-law causes of action related
14   to the ERISA-governed health plans. See Aetna Health Inc. v. Davila, 542 U.S.
15   200, 207- 08 (2004) (“[W]hen the federal statute completely pre-empts the state-
16   law cause of action, a claim which comes within the scope of that cause of action,
17   even if pleaded in terms of state law, is in reality based on federal law . . . ERISA
18   is one of these statutes.”) (citations).
19          11.     “Under Davila, a state-law cause of action is completely preempted
20   and thus removable if:
21          a)      ‘an individual, at some point in time, could have brought [the]
22   claim under ERISA § 502(a)(1)(B)’, and
23          b)      ‘where there is no other independent legal duty that is implicated by
24   a defendant’s actions.’” Marin Gen. Hosp. v. Modesto & Empire Traction Co.,
25   581 F.3d 941, 946 (9th Cir. 2009) (quoting Davila, 542 U.S. at 210).
26          12.     The first element of the Davila test is met because Plaintiff seeks to
27   recover benefits under an ERISA-governed health plan, which an individual, at
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 1   some point in time, could have brought under ERISA Section 502(a)(1)(B).
 2   Plaintiff alleges that the member assigned to it the benefits under the plan thus
 3   enabling Plaintiff to sue under ERISA to obtain the benefits Plaintiff asserts are
 4   due it in this case. Complaint ¶ 53. See Misic v. Bldg. Serv. Employees Health &
 5   Welfare Trust, 789 F.2d 1374, 1379 (9th Cir. 1986).
 6         13.     Plaintiff alleges to have done just that. See Compl., ¶¶ 7 (“Patient
 7   entered into a valid insurance agreement with DEFENDANT for the specific
 8   purpose of ensuring that the Patient would have access to medically necessary
 9   treatments, care, procedures and surgeries by medical practitioners like Medical
10   Provider and ensuring that DEFENDANT would pay for the health care expenses
11   incurred by the Patient.”), 21 (“all medical providers have their own individual
12   right to payment from insurers for medical services provided to one of their
13   insureds in accordance with a patient’s evidence of coverage.”), 22 (“a failure to
14   pay a medical provider in accordance with a patient’s evidence of coverage, vests
15   a medical provider with its own separate individual right to recovery in
16   accordance with a patient’s evidence of coverage”).
17         14.     The second element of the Davila test is also met because the
18   alleged wrongs arise out of Blue KC’s alleged failure to properly pay benefits
19   under its ERISA-governed health plan. See Compl. ¶¶ 36 (“DEFENDANT had a
20   contractual obligation to pay Medical Provider in accordance with Patient’s plan
21   document and agreement”), 37 (“According to the Patient’s plan agreement,
22   DEFENDANT was obligated to pay Medical Provider, Medical Provider’s full
23   billed amount”), 50 (“once Medical Provider provided medical services to
24   Patient, DEFENDANT was obligated to pay Medical Provider in accordance
25   with Patient’s health plan documents.”), 51 (“Medical Provider provided the
26   services, but DEFENDANT failed to pay according to the terms of the patient’s
27   health plan documents.”), 56 (“DEFENDANT failed to make payment in
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 1   accordance with the terms of the written agreement and instead made a payment
 2   that was far less than Medical Provider’s billed amount”)
 3         15.     And although Plaintiff tries to disguise its ERISA claims as state-
 4   law causes of action, Plaintiff’s “artful pleading” does not alter ERISA’s
 5   preemptive force. See Cleghorn v. Blue Shield of California, 408 F.3d 1222, 1226
 6   (9th Cir. 2005) (“[a]rtful pleading does not alter the potential for this suit to
 7   frustrate the objectives of ERISA”); Fossen v. Blue Cross and Blue Shield of
 8   Montana, Inc., 660 F.3d 1102, 1110-11 (9th Cir. 2011) (“[c]laimants simply
 9   cannot obtain relief by dressing up an ERISA benefits claim in the garb of a state
10   law tort.”); Dishman v. UNUM Life Ins. Co. v. Am., 269 F.3d 974, 983 (9th Cir.
11   2001) (similar).
12         16.     Indeed, Courts consistently hold ERISA preempts all of Plaintiff’s
13   causes of action. See, e.g., Bast v. Prudential Ins. Co. of Am., 150 F.3d 1003,
14   1007-08 (9th Cir. 1998) (ERISA “preempts state common law tort and contract
15   causes of action.”) (emphasis added); David M. Lewis, D.M.D. v. William
16   Michael Stemler, Inc., 2013 WL 5373527, at *4 (E.D. Cal. Sept. 25, 2013)
17   (ERISA preempted breach of oral contract claim); Moeller v. Qualex, Inc., 458
18   F. Supp. 2d 1069, 1075 (C.D. Cal. 2006) (“the Ninth Circuit has held that state
19   law claims for breach of contract, estoppel, misrepresentation, and interference
20   with contractual relations ‘relate to’ the administration of employee benefit
21   plans.”) (emphasis added); Lyms, Inc. v. Millimaki, No. 08CV1210-MMA(NLS),
22   2009 WL 10672067, at *3 (S.D. Cal. Aug. 25, 2009) (ERISA preempted fraud
23   claim).
24         17.     At bottom, Plaintiff seeks to recover benefits under ERISA-
25   governed health plan. Because ERISA completely preempts Plaintiffs’ causes of
26   action, federal question jurisdiction exists under 28 U.S.C. § 1331 and removal is
27   proper under 28 U.S.C. § 1441.
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 1                            DIVERSITY JURISDICTION
 2         18.     Diversity jurisdiction exists under 28 U.S.C §§ 1332(a)(1),
 3   1332(c)(1), 1441 and 1446 because this suit is between citizens of different states
 4   and the amount in controversy exceeds $75,000, exclusive of costs and interest.
 5   A.    Citizenship of Blue KC
 6         19.     At the time of filing and now, Blue KC is a corporation organized
 7   and existing under the laws of the State of Missouri, with its principal place of
 8   business in Kansas City, Missouri. (Frazier Declaration, ¶ 4.)
 9   B.    Citizenship of Plaintiff
10         20.     At the time of filing and now, Plaintiff is a corporation organized
11   and existing under the laws of the State of California with its principal place of
12   business in California. Compl., ¶ 1.
13   C.    Amount in Controversy
14         21.     Plaintiff asks Blue KC to pay Plaintiff’s full billed charges for
15   medical services. Plaintiff alleges that it billed Blue KC $344,282 for a single
16   surgery and was paid $2,696.50. Plaintiff seeks to recover damages of
17   $341,585.50, exclusive of costs and interest. Compl. ¶¶ 38, 40.
18                    REMOVAL TO THIS COURT IS PROPER
19         22.     Under 28 U.S.C. Sections 84(c)(2) and 1446(a), this action can
20   be removed to this Court because it embraces Los Angeles County—the
21   county in which Plaintiff originally sued. Compl. at Caption Page.
22         23.     Attached as Exhibit 1 is a copy of all process, pleadings, or
23   orders that have been served on Blue KC. 28 U.S.C. § 1446(a).
24         24.     Blue KC will promptly give written notice of this removal to
25   Plaintiff and will file a copy of the notice with the Superior Court for the County
26   of Los Angeles, California. 28 U.S.C. § 1446(d).
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                                       NOTICE OF REMOVAL
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 1   Dated:    June 22, 2021               THE ZORKIN FIRM
 2

 3                                         By:/s/ Michael Zorkin
                                              Michael Zorkin
 4                                            Attorneys for Defendant
                                              Blue Cross and Blue Shield of
 5                                            Kansas City
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